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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   8     UNITED STATES OF AMERICA,                        Case No. 21-cr-00453-SI
                                   9                    Plaintiff,
                                                                                          ORDER RE: RESTITUTION FOR THE
                                  10              v.                                      SAN FRANCISCO DEPARTMENT OF
                                                                                          BUILDING INSPECTION
                                  11     BERNARD CURRAN and
                                         RODRIGO SANTOS,
                                  12
Northern District of California




                                                        Defendants.
 United States District Court




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                                  15          Before the Court is a request for restitution made by the San Francisco Department of
                                  16   Building Inspection (“DBI”) under the Mandatory Victims Restitution Act. The Court held a
                                  17   restitution hearing on November 2, 2023. Having carefully considered multiple rounds of briefing
                                  18   and the parties’ arguments, the Court hereby awards the following restitution for DBI to compensate
                                  19   DBI for actual losses caused to date by defendants’ criminal conduct, pursuant to 18 U.S.C.
                                  20   § 3663A:
                                  21
                                       Mr. Santos:
                                  22
                                              $18,518.76 joint and several restitution
                                  23
                                              $95,299.95 individual restitution
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                                       Mr. Curran:
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                                              $18,518.76 joint and several restitution
                                  27
                                              $122,033.73 individual restitution
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                                   1         The judgments will be amended accordingly.

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                                   3         IT IS SO ORDERED.

                                   4   Dated: November 28, 2023
                                                                                  ______________________________________
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                                                                                  SUSAN ILLSTON
                                   6                                              United States District Judge

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Northern District of California
 United States District Court




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